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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

       v.                              :       1:21-CR-108 (TSC)

MICHAEL FOY                            :


   DEFENDANT’S EMERGENCY TO LIFT 72 HOUR STAY OF RELEASE ORDER


       Michael Foy respectfully requests that this Honorable Court immediately lift its 72 hour

stay of Detention Order. In support of his Motion, Mr. Foy states the following.

       1. Mr. Foy was ordered released on June 30, 2021 with significant conditions. The

             Government requested a stay of the release order while it considered the possibility of

             appeal. The Court granted that motion over the defense’s objection.

       2. On July 2, 2021, the Government informed the Court that it would not be appealing the

             Court’s June 30, 2021 Order. ECF 42.

       3. Mr. Foy is currently at the Correctional Treatment Facility. There is thus no purpose

             for Mr. Foy to continue to be detained.

       4. In order to avoid any further confusion with the Department of Corrections, counsel

             also requests that the Court’s Release Order of June 30, 2021 be resubmitted to the U.S.

             Marshals Service and the Department of Corrections.

                                             Conclusion

       Wherefore, for the foregoing reasons, Mr. Foy respectfully requests that the Court lift the

temporary stay of its release Order and to inform the appropriate parties to release him

immediately.


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                           Respectfully submitted,

                           A. J. KRAMER
                           FEDERAL PUBLIC DEFENDER

                                  /s/
                           _____________________________
                           EUGENE OHM
                           ELIZABETH MULLIN
                           Assistant Federal Public Defender
                           625 Indiana Avenue, N.W., Suite 550
                           Washington, D.C. 20004
                           (202) 208-7500




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